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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION

STATE OF GEORGIA, et al.,            )
                                     )
      Plaintiffs,                    )
                                     )
v.                                   )      Case No. 2:15-CV-79
                                     )
ANDREW WHEELER, in his official      )
capacity as Acting Administrator,    )
U.S. Environmental Protection        )
Agency, et al.                       )
                                     )
      Defendants.                    )

                             NOTICE OF APPEARANCE

      The United States of America, by and through the United States Attorney for

the Southern District of Georgia and the undersigned Assistant United States

Attorney, hereby gives notice that the undersigned counsel represents the Federal

Defendants in this matter.

                                         BOBBY L. CHRISTINE
                                         UNITED STATES ATTORNEY


                                         /s/ O. Woelke Leithart
                                         O. Woelke Leithart
                                         Assistant United States Attorney
                                         Idaho Bar No. 9257

Post Office Box 8970
Savannah, Georgia 31412
Telephone: (912) 652-4422
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                            CERTIFICATE OF SERVICE

       This is to certify that I have on December 11, 2018, served all the parties in this

case in accordance with the notice of electronic filing (ANEF@) which was generated as a

result of electronic filing in this Court.



                                             /s/ O. Woelke Leithart
                                             O. Woelke Leithart
                                             Assistant United States Attorney
                                             Idaho Bar No. 9257




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